 Case 2:23-cv-04347-AH-E         Document 151 Filed 05/30/25    Page 1 of 4 Page ID
                                         #:2400


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15                      UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
16
17   T-MOBILE US, INC., CLEARWIRE              Case No. 2:23-cv-04347-AH(Ex)
     SPECTRUM HOLDINGS LLC,
18   CLEARWIRE SPECTRUM                        Hon. Anne Hwang, Crtm 7D
     HOLDINGS II LLC, CLEARWIRE
19   SPECTRUM HOLDINGS III LLC,
     FIXED WIRELESS HOLDINGS                   CERTIFICATE OF SERVICE RE
20   LLC, NSAC LLC, TDI                        SERVICE OF UNDER SEAL
     ACQUISITION SUB LLC, AND                  DOCUMENTS BY WAY OF EMAIL
21   WBSY LICENSING LLC,
                                               Filing Date: June 2, 2023
22                 Plaintiffs,                 Counterclaims Filed: March 31, 2025
     vs.
23
     WCO SPECTRUM LLC, SCH LLC,
24   ACADEMIA SPECTRUM LLC,
     KAREN WINNICK AS TRUSTEE
25   OF GKW TRUST, EXECUTOR OF
     THE ESTATE OF GARY WINNICK
26   AND GARY WINNICK’S
     SUCCESSOR-IN-INTEREST,
27   CARL KATERNDAHL, ASHOK
     VASUDEVAN, ANDREAS
28   BITZARAKIS, AND TYLER
     KRATZ,
                  Defendants.
                                     CERTIFICATE OF SERVICE
  Case 2:23-cv-04347-AH-E    Document 151 Filed 05/30/25        Page 2 of 4 Page ID
                                     #:2401



 1                          CERTIFICATE OF SERVICE
 2        I, Heather Thai, certify and declare as follow:
 3        1.    I am over the age of 18 and not a party to this action.
 4        2.    My business address is 350 South Grand Avenue, 51st Floor, Los
 5 Angeles, CA 90071-1410.
 6        3.    On May 30, 2025, I caused a copy of (1) DECLARATION OF R.
 7 KENNON POTEAT III IN SUPPORT OF PLAINTIFFS’ UNOPPOSED
 8 APPLICATION FOR LEAVE TO FILE TWO DOCUMENTS UNDER
 9 SEAL; (2) EXHBIT A TO DECLARATION OF R. KENNON POTEAT III
10 IN SUPPORT OF THE APPLICATION; (3) UNREDACTED EXHIBIT 4 TO
11 THE DECALRATION OF R. KENNON POTEAT III IN SUPPORT OF
12 THE REQUEST FOR JUDICIAL NOTICE; AND (4) UNREDACTED
13 EXHIBIT 10 TO THE DECALRATION OF R. KENNON POTEAT III IN
14 SUPPORT OF THE REQUEST FOR JUDICIAL NOTICE to be served by
15 way of electronic transmission upon the following counsel:
16   Mark T. Cramer, Esq.                   Attorneys for Defendants
17   BUCHALTER, APC                         WCO SPECTRUM LLC,
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     Los Angeles, CA 90017                  OF GKW TRUST, EXECUTOR OF
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                                            AND GARY WINNICK’S
20                                          SUCCESSOR-IN-INTEREST, CARL
21                                          KATERNDAHL, ANDREAS
                                            BITZARAKIS, and TYLER KRATZ
22
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23                                          Fax:   (213) 896-0400
24                                          Email: mcramer@buchalter.com

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26
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28

                                             1
                                  CERTIFICATE OF SERVICE
 Case 2:23-cv-04347-AH-E       Document 151 Filed 05/30/25   Page 3 of 4 Page ID
                                       #:2402



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                                            AND GARY WINNICK’S
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 6                                          KATERNDAHL, ANDREAS
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                                            AND GARY WINNICK’S
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15                                          KATERNDAHL, ANDREAS
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     Dallas, TX 75201                       AND GARY WINNICK’S
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                                             2
                                   CERTIFICATE OF SERVICE
 Case 2:23-cv-04347-AH-E       Document 151 Filed 05/30/25        Page 4 of 4 Page ID
                                       #:2403



 1   Philadelphia, PA 19103                  KAREN WINNICK AS TRUSTEE
 2                                           OF GKW TRUST, EXECUTOR OF
     * admitted pro hac vice                 THE ESTATE OF GARY WINNICK
 3                                           AND GARY WINNICK’S
                                             SUCCESSOR-IN-INTEREST, CARL
 4                                           KATERNDAHL, ANDREAS
                                             BITZARAKIS, and TYLER KRATZ
 5
 6                                           Telephone: (215) 866-0112
                                             Email: mmitts@mittslaw.com
 7
           I declare under penalty of perjury under the laws of the United States of
 8
     America that the forgoing is true and correct.
 9
           Executed on May 30, 2025, at Los Angeles, California.
10
11
                                                      /s/Heather Thai
12                                                            Heather Thai
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                                   CERTIFICATE OF SERVICE
